                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  COOKEVILLE DIVISION

DR. JULIA GRUBER AND                                          )
ANDREW SMITH                                                  )
                                                              )
        Plaintiffs,                                           )
                                                              )
v.                                                            )        Case No. 2:21-CV-00039
                                                              )
TENNESSEE BOARD OF TRUSTEES d/b/a                             )        Judge Crenshaw
TENNESSEE TECH UNIVERSITY,                                    )        Magistrate Judge Newbern
DR. LORI BRUCE,                                               )
in her official and individual capacity,                      )        JURY DEMAND
and DR. PHILIP OLDHAM, in his individual                      )
and official capacity                                         )
                                                              )
        Defendants.                                           )


                      DEFENDANTS’ MOTION FOR PARTIAL DISMISSAL


        Defendants 1 in this action, by and through the office of the Tennessee Attorney General

and Reporter, hereby move this Court to dismiss Plaintiffs’ claims against Tennessee

Technological University, Dr. Gruber in her official capacity, and Dr. Oldham, in his official

capacity (“State Defendants”). The claims asserted against State Defendants under 42 U.S.C. §

1983 must be dismissed pursuant to pursuant to Fed. R. Civ. P. 12(b)(1) due to lack of subject

matter jurisdiction and pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim due to state

sovereign immunity.

        This Motion does not address Plaintiffs’ claims for liability against either Defendant Dr.

Bruce in her individual capacity or Dr. Oldham in any capacity other than his official capacity (as

he is not yet served in his individual capacity). Defendant Dr. Bruce requests that she be permitted


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  Defendants in this motion include solely Tennessee Technological University, Dr. Bruce (in her official and
individual capacity) and Dr. Oldham (in his official capacity only, as he has not yet been served individually).
Defendants specifically preserve and do not waive any affirmative defenses by bringing this partial motion to dismiss
at this time.
                                                         1

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to file an answer to the claims against her in her individual capacity —and any other remaining

claims—fourteen days after this Court has ruled on the Motion for Partial Dismissal. Defendant

Dr. Oldham requests that he similarly be permitted to file an answer to the claims against him in

his individual capacity —and any other remaining claims—fourteen days after this Court has ruled

on the Motion for Partial Dismissal or he is served in his individual capacity and his time to answer

runs, whichever occurs later in time, to assure he and Dr. Bruce can file one comprehensive answer

to any remaining claims. Under Federal Rule of Civil Procedure 12(a)(4), the service of a motion

to dismiss extends the time for Defendant to file a responsive pleading until fourteen days after the

court’s ruling on the motion. Although the Rule itself does not specify, “the majority of federal

courts that have addressed the issue have held that filing a partial motion to dismiss does indeed

extend the time to file a responsive pleading with respect to all claims, including those not

addressed in the motion.” Compton v. City of Harrodsburg, Ky., 287 F.R.D. 401, 402 (E.D. Ky.

2012). Defendants thus request that the time to file an answer to all claims be postponed until

fourteen days after this Court’s ruling on its partial motion to dismiss as to Defendant Dr. Bruce

and until fourteen days after this Court has ruled on the Motion for Partial Dismissal as to

Defendant Dr. Oldham or he is served in his individual capacity and his time to answer runs,

whichever occurs later in time.

       A Memorandum of Law in support of this Motion is being filed contemporaneously

herewith.

                                              Respectfully submitted,

                                              HERBERT H. SLATERY III
                                              ATTORNEY GENERAL AND REPORTER

                                              /s E. Ashley Carter
                                              E. Ashley Carter, BPR #27903
                                              John W. Dalton, BPR #16653
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                                              Carolyn U. Smith, BPR #17166
                                                 2

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                                             Attorneys for Defendants




                                CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2021, a copy of Defendants’ Motion for Partial
Dismissal was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt as follows:

                                   ROBERT C. BIGELOW
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                                   Nashville, Tennessee 37215
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                                      Counsel for Plaintiffs



All other parties will be served by regular U.S. Mail as follows: N/A



 Parties may access this filing through the Court’s electronic filing system.


                                                       s/ John W. Dalton
                                                 JOHN W. DALTON, BPR No. 16653
                                                 Senior Assistant Attorney General




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